                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                         DOCKET NO.: 3:01-CR-66-FDW-DCK


UNITED STATES OF AMERICA,                 )
          Plaintiff,                      )
v.                                        )
                                          )                                  ORDER
EDWARD COOPER,                            )
            Defendant.                    )
__________________________________________)

       THIS MATTER IS BEFORE THE COURT upon the handwritten letter from the

Defendant to the undersigned (Document No. 487) received in chambers on September 20, 2010.

In the letter, which the Court will consider a motion, Mr. Cooper asks for a new bond.

       The record reflects that Mr. Cooper is represented by appointed counsel, Roderick Glenn

Davis. It is the practice of this Court, when a defendant is represented by counsel, to rule on

motions filed only by counsel of record. Therefore, if Mr. Cooper has any matters he wishes this

Court to consider, they must be submitted through his attorney.

       IT IS, THEREFORE, ORDERED that Mr. Cooper’s request for a bond is DENIED

without prejudice to his right to re-file the motion, if appropriate, through his attorney, Mr. Davis.


       SO ORDERED.

                                                  Signed: September 21, 2010




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